                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

DAVID BROCK and PEGGY BROCK, )
                              )
                  Plaintiffs, )
                              )
vs.                           )                              Case No. 3:07-CV-318
                              )
ZURICH AMERICAN INSURANCE     )
COMPANY,                      )
                              )
                  Defendants. )
                                     NOTICE OF APPEAL
       Notice is hereby given that David and Peggy Brock, Plaintiffs in the in the above named case,

hereby appeal to the United States Court of Appeals for the Sixth Circuit from Order granting

Defendant’s Motion for Summary Judgment entered on July 27, 2009.

                                                     Respectfully submitted,
                                                       /s/ Philip O. Watts
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                        CERTIFICATE OF ELECTRONIC SERVICE
       This is to certify that on the 21st day of August, 2009, a true and correct copy of the above
and foregoing was e-mailed through the Courts ECF electronic filing system to the following:

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                                                              /s/ Philip O. Watts



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